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                               AFFIDAVIT
     I, Gabriel Denton, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT
             This affidavit is made in support of:

             a.    a criminal complaint against and arrest warrant

for Micah Tillmon (“TILLMON”) for a violation of 18 U.S.C.

§ 844(i) (Arson Affecting Interstate or Foreign Commerce);

             b.   an application for a warrant to search the

premises located at 23818 Welby Way, West Hills, California

91307 (the “SUBJECT PREMISES”) as described more fully in

Attachment A-1; and

             c.   an application for a warrant to search a white

1995 Ford Explorer bearing California license plate number

3LYB916 and registered to TILLMON (the “SUBJECT VEHICLE”) as

described more fully in Attachment A-2.

             The requested search warrants seek authorization to

seize evidence, fruits, or instrumentalities of violations of 18

U.S.C. § 844(i) (Arson Affecting Interstate or Foreign Commerce)

and 18 U.S.C. § 844(n) (Conspiracy to Commit Arson Affecting

Interstate or Foreign Commerce) (the “Subject Offenses”), as

described more fully in Attachment B.       Attachments A-1, A-2, and

B are incorporated herein by reference.

             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there
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is sufficient probable cause for the requested complaint, arrest

warrant, and search warrants, and does not purport to set forth

all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II. BACKGROUND OF AFFIANT
            I am a Special Agent (“SA”) with the United States

Department of Justice, Bureau of Alcohol, Tobacco, Firearms and

Explosives (“ATF”) and have been a SA for over 13 years.          I

attended the University of California, Irvine, where I received

a Bachelor of Arts Degree in Criminology, Law & Society.          I have

received training in Federal arson laws and regulations at the

Federal Law Enforcement Training Center and Special Agent Basic

Training at the ATF National Academy.       I have previously worked

on Federal and State arson investigations, and have referred to

these federal and state arson laws and regulations during the

course of my duties.    I am currently assigned to the ATF Los

Angeles Field Division, Arson & Explosives Group.

                    III. SUMMARY OF PROBABLE CAUSE
            On May 31, 2020, a restaurant in Santa Monica,

California, named Sake House by Hikari (“Sake House”) was set on

fire during the civil disturbance that took place in the city

that day.   The Santa Monica Police Department (“SMPD”) conducted

subsequent investigation and identified TILLMON as the

individual who started that fire, partially through identifying

the SUBJECT VEHICLE.    Following SMPD’s identification of



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TILLMON, I worked to determine where TILLMON lives and

identified the SUBJECT PREMISES as TILLMON’s residence.

                   IV. STATEMENT OF PROBABLE CAUSE
           Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.    Sake House Fire and Determination of Arson
            On May 31, 2020, at approximately 5:02 p.m., the

Santa Monica Fire Department (“SMFD”) was dispatched to a

structure fire at Sake House, which is located at 401 Santa

Monica Boulevard. 1   This occurred during a civil disturbance

within the city, so once SMFD firefighters extinguished the

fire, they quickly left the scene due to unsafe conditions.

SMFD responded several times throughout the evening and night to

extinguish flare-ups.    The interior of the restaurant sustained

substantial fire damage, to include a hole burned through the

ceiling.

           On June 4, 2020, SMFD investigators, SMPD officers and

ATF agents (collectively, the “Investigative Team”), were

granted access to Sake House to conduct a fire investigation.

As part of that investigation, Sake House personnel provided the




     1 Sake House occupies the bottom floor of a two-story
building that is located at the corner of 4th Street and Santa
Monica Boulevard. As such, Sake House’s front doors open up to
Santa Monica Boulevard and the interior of the restaurant
extends away from Santa Monica Boulevard with large windows
bordering the sidewalk that runs along 4th Street.



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Investigative Team with security video recordings that depicted

the inside of Sake House on May 31, 2020. 2
           When I watched those video recordings, I saw that

they showed three individuals roaming about inside Sake House in

the minutes prior to the fire starting: 1) a female wearing a

black top, distinctive green pants, and a black face mask; 2) a

male wearing a dark blue sweatshirt and a light blue face mask;

and 3) a male wearing a dark-colored jacket, blue jeans and a

white bandana around his neck (the “Subject”).         Then, those

individuals all disappeared from the security camera’s frame of

view before the Subject walked back into frame and removed a red

tube-shaped object from his jacket, which he placed behind the

reception desk area of the restaurant before walking away.

Within seconds of that action, smoke and fire appeared from the

area where the Subject placed the red tube-shaped object.

          SMFD personnel attached to the Investigative Team were

responsible for conducting the origin and cause investigation

into the source of the fire.      Those investigators formed the
opinion that the fire was ignited from an outside source,

specifically, the red tube-shaped object used by the Subject.

     B.   Identification of the Subject as TILLMON
          In the days after June 4, 2020, SMPD Detectives

reviewed videos posted to social media and security camera


     2 SMPD questioned Sake House personnel about the
restaurant’s clientele and those personnel indicated that they
served customers from all over the country and all over the
world. Additionally, they indicated that most customers paid
for their meals using credit or debit cards attached to banks
from all over the country and all over the world.


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recordings that captured scenes of the civil disturbance in the

area around Sake House on May 31, 2020.       During that review,

they found multiple videos of the Subject along with the other

two individuals who were present inside Sake House in the

minutes prior to fire starting.      I viewed those videos (and

still frames captured from those videos) and noticed that some

clearly depicted the Subject’s face and other identifying

features.   Most specifically, in several of those videos, a

patch for Allied Universal Security Services (“Allied

Universal”) is noticeable on the left sleeve of the Subject’s

jacket.
            Another video I watched was captured on a security

camera positioned on 4th Street, on the opposite side of Santa

Monica Boulevard from Sake House (approximately 500 feet

southeast of the restaurant).      That video shows the SUBJECT

VEHICLE, i.e., a white Ford Explorer, parking immediately next

to Sake House at the corner of Santa Monica Boulevard and 4th

Street approximately four minutes before the fire started.

While the video does not clearly depict the Subject entering or

exiting Sake House, the video shows the SUBJECT VEHICLE

reversing across Santa Monica Boulevard towards the security

camera in the moments after the fire started.        Then, the video

shows the SUBJECT VEHICLE parking near the security camera’s

location and the Subject exiting the SUBJECT VEHICLE and looting

a nearby business.

            That video does not clearly depict the SUBJECT

VEHICLE’s license plate number.      However, SMPD detectives found



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a video posted to social media that was captured after the

SUBJECT VEHICLE reversed across Santa Monica Boulevard and

parked near the security camera.      In that video, the license

plate number is visible as “3LYB916.”       I used a law enforcement

database to check the California Department of Motor Vehicles

registration associated with that license plate number and

learned that the SUBJECT VEHICLE is registered to TILLMON.
            Once I identified TILLMON as the registered owner of

the SUBJECT VEHICLE, I used a law enforcement database to locate

TILLMON’s current California driver’s license photograph. 3         Then,

I compared that photograph to the above-noted videos that

clearly show the Subject’s face.      Based on that review, I

believe TILLMON is the Subject.

     C.     Identification and Investigation of the SUBJECT
            PREMISES
            After I identified TILLMON as the Subject, I decided

to investigate whether TILLMON was employed by Allied Universal.

As noted above, the Subject was wearing a jacket with an Allied

Universal patch on the left sleeve on May 31, 2020.         On or about
June 15, 2020, I went to the Allied Universal office in Woodland

Hills, California, and spoke with a human resources manager.

That person told me that TILLMON had been employed by Allied

Universal but that his employment was terminated on or about May

26, 2020.




     3 TILLMON’s driver’s license shows his address as 9611 Shoup
Avenue in Chatsworth, California. The SUBJECT VEHICLE is
registered to that address as well.


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            Then, on June 18, 2020, the same human resources

manager called me and said that earlier that day TILLMON had re-

applied for a job at Allied Universal.       The human resources

manager then told me that during the application process,

TILLMON provided his current home address as the SUBJECT

PREMISES.

            On June 19, 2020, I conducted surveillance at the

SUBJECT PREMISES.    At approximately 11:59 a.m., I observed the

SUBJECT VEHICLE parked inside the garage of the SUBJECT

PREMISES.   Then, at approximately 12:32 p.m., I saw TILLMON exit

through the front door of the SUBJECT PREMISES.

            On June 24, 2020, I conducted additional surveillance

at the SUBJECT PREMISES.     At approximately 6:30 a.m., I saw the

SUBJECT VEHICLE drive into and park in the garage of the SUBJECT

PREMISES.   Then, TILLMON exited the front passenger door of the

SUBJECT VEHICLE and entered the SUBJECT PREMISES.

   V. TRAINING AND EXPERIENCE REGARDING THE SUBJECT OFFENSES
            Based on my training and experience and information

obtained from other law enforcement officers who investigate

arson, I know the following:

            a.   People who engage in arson often derive great

satisfaction from setting fires.      As such, they often plan their

arsons well in advance and plan them meticulously.         To that end,

an arsonist will often perform research about flammable

materials, chemical accelerants, and/or explosives with an eye

towards designing incendiary/destructive devices that will

quickly and effectively cause a fire to grow.        That research can



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be performed using various hard copy books or magazines.

Oftentimes, that research is performed using the Internet on

their digital devices.     It is common for an arsonist to record

the results of his research in the form of plans, diagrams, and

notes in a diary or journal and on his digital devices.          It is

common for an arsonist to save those records for a long period

of time and keep them in a place where they are readily

accessible, such as his home or car.

          b.    Once an arsonist has completed his research and

designed an incendiary/destructive device, it is common for the

arsonist to accumulate stockpiles of flammable materials,

chemical accelerants, and/or explosives and to maintain those

stockpiles for long periods of time.       Sometimes, those supplies

are available at local hardware stores, so any purchase would

likely generate a physical receipt that would be stored in the

arsonist’s home or car.     Other times, arsonists purchase those

supplies over the Internet using their digital devices and

receipts of those transactions are usually stored in the memory

of their digital devices.     Many people do not dispose of their

records relating to these materials; they usually keep these

records for long periods, in a secure location within their home

or car.

          c.    After an arsonist purchases the component parts

of an incendiary/destructive device, those supplies are

typically stored in the arsonist’s home (often in a garage or

outbuilding), or in a rented storage facility.         In order to

manufacture an incendiary/destructive device, an arsonist will



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usually need a set of tools to construct the device and often

has a designated work space in his home where the device is

made.   Following the construction of an incendiary/destructive

device, an arsonist will typically test its viability several

times in order to perfect its performance.         He will often

memorialize these tests by taking photographs or recording

videos on his digital devices.       Many people do not dispose of

those photographs or videos for long periods of time and keep

hard copies of those photographs and videos in a secure location

in their home or car.
           Based on my training and experience, I know that

individuals who participate in arson often have co-conspirators

who help them construct incendiary/destructive devices and/or

choose targets to burn.      I know that much correspondence between

these co-conspirators occurs by e-mail or text message sent to

and from smart phones, laptops, or other digital devices.           This

includes sending photos of incendiary/destructive devices and

plans to make the same.      Therefore, based on my experience, I

believe that it is probable that any digital devices found at

the SUBJECT PREMISES may contain text-messages or e-mail between

TILLMON and other individuals discussing explosives, incendiary

devices, or destructive devices.




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                TRAINING AND EXPERIENCE ON DIGITAL DEVICES 4
           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.     Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.     Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,


      4As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.


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programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.
           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:




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           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.
           The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of
publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a



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device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress TILLMON’s thumb- and/or fingers on the

device(s); and (2) hold the device(s) in front of TILLMON’s face

with his eyes open to activate the facial-, iris-, and/or

retina-recognition feature.
           Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

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                             ATTACHMENT A-1
PREMISES TO BE SEARCHED

      The premises located as 23818 Welby Way, West Hills,

California 91307 (the “SUBJECT PREMISES”).         The SUBJECT PREMISES

is a single-story, single family residence, with an attached

garage located on the south side of Welby Way, between Peterson

Avenue to the West and North Platt Avenue to the East.           The roof

is shingle and grey in color.       The front door is blue in color

and faces north to Welby Way.       The main structure is composed of

stone and white stucco while the attached garage is white

stucco.   A large hedge comprises part of the property barrier to

the east and a large tree is planted on the front lawn.           The

number “23818” is painted in black against a white background on

the curb in front of the house.




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                             ATTACHMENT A-2
VEHICLE TO BE SEARCHED

      A white 1995 Ford Explorer bearing California license plate

number 3LYB916 and registered to Micah Tillmon (the “SUBJECT

VEHICLE”).




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                               ATTACHMENT B
I.      ITEMS TO BE SEIZED
             The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 18 U.S.C. § 844(i)

(Arson Affecting Interstate or Foreign Commerce) and 18 U.S.C.

§ 844(n) (Conspiracy to Commit Arson Affecting Interstate or

Foreign Commerce) (the “Subject Offenses”), namely:

             a.   Any clothes that appear to have been worn by

Micah Tillmon on May 31, 2020;

             b.   Any items that appear to have been stolen from

Sake House by Hikari in Santa Monica, California, on May 31,

2020;

             c.   Any and all explosives, incendiary devices, and

destructive devices;

             d.   Any and all parts and tools used in the

manufacture of explosives, incendiary devices, and destructive

devices, including PVC and or metal pipes, safety fuzes, black

powder and other chemical accelerants;

             e.   Any records, documents, programs, applications,

or materials containing plans or diagrams related to the

construction or assembly of incendiary devices or destructive

devices;

             f.   Any records, documents, programs, applications,

or materials related to the sale, purchase, receipt,

transportation, or possession of any explosives, incendiary

devices, or destructive devices, including any receipts, bills



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of sale, shipping receipts, credit card receipts, identification

cards, bank statements, and correspondence requesting or

confirming purchase, sale or shipment of such explosives,

incendiary devices, or destructive devices;

           g.    Records of off-site storage locations, including

safe-deposit box keys, records, receipts, or rental agreements

for storage facilities;

           h.    Any records, documents, programs, applications,

or materials evidencing the identity of the person(s)

controlling, occupying, possessing, residing in, or owning the

SUBJECT PREMISES, including any rental agreements, leases, rent

receipts, deeds, escrow documents, utility bills and other

mailed envelopes reflecting the address and addressee;

           i.    Contents of any calendar or date book stored on

any of digital devices;

           j.    Global Positioning System (“GPS”) coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations;

           k.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show address book information, including all stored or saved

telephone numbers;

           l.    Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers




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accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

           m.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the above-named violations;

           n.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show instant and social media messages (such as Facebook,

Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written

communications sent to or received from any digital device and

which relate to the above-named violations;

           o.    Audio recordings, pictures, video recordings, or

still captured images of explosives, incendiary devices, or

destructive devices, and plans or diagrams outlining the

construction of the same; and

           p.    Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

           q.    With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                 i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,



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configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                 ii.     evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                 iii. evidence of the attachment of other devices;

                 iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                 v.      evidence of the times the device was used;

                 vi.     passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                 vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                 viii.        records of or information about

Internet Protocol addresses used by the device;

                 ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.



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           As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.

           As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

II.   SEARCH PROCEDURE FOR DIGITAL DEVICE(S)
           In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

           a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or



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seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.         The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.          The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

           b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                 i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.     The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.




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           c.    If the search team, while searching a digital

device, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that device

pending further order of the Court and shall make and retain

notes detailing how the contraband or other evidence of a crime

was encountered, including how it was immediately apparent

contraband or evidence of a crime.

           d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

           e.    If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

           f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

           g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),



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including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           h.    After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.
           In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

           a.    Any digital device capable of being used to

commit, further, or store evidence of the offenses listed above;

           b.    Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

           c.    Any magnetic, electronic, or optical storage

device capable of storing digital data;

           d.    Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

           e.    Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

           f.    Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and




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           g.    Any passwords, password files, biometric keys,

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.
           The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

           During the execution of this search warrant, law

enforcement is permitted to: (1) depress TILLMON’s thumb- and/or

fingers onto the fingerprint sensor of the digital device (only

when the device has such a sensor), and direct which specific

finger(s) and/or thumb(s) shall be depressed; and (2) hold the

device in front of TILLMON’s face with his eyes open to activate
the facial-, iris-, or retina-recognition feature, in order to

gain access to the contents of any such device.          In depressing a

person’s thumb or finger onto a device and in holding a device

in front of a person’s face, law enforcement may not use

excessive force, as defined in Graham v. Connor, 490 U.S. 386

(1989); specifically, law enforcement may use no more than

objectively reasonable force in light of the facts and

circumstances confronting them.




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           The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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